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                           CENTRAL DISTRICT OF CALIFORNIA
14
                                     EASTERN DIVISION
15
     LISA BOWDEN,                             ) No. 5:20-cv-02625-RAO
16                                            )
           Plaintiff,                         ) [PROPOSED]
17                                            )
                  v.                          ) JUDGMENT OF REMAND
18                                            )
                                              )
19   KILOLO KIJAKAZI, Acting                  )
                                              )
20   Commissioner of Social Security,         )
                                              )
21         Defendant.                         )
22
           The Court having approved the parties’ Stipulation to Voluntary Remand
23
24   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment

25   (“Stipulation of Remand”) lodged concurrent with the lodging of the within Judgment
26   of Remand,
27         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
28   ///
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1    captioned action is remanded to the Commissioner of Social Security for further
2    proceedings consistent with the Stipulation of Remand.
3
     DATED: November 5, 2021
4
                                           HON. ROZELLA A. OLIVER
5                                          UNITED STATES MAGISTRATE JUDGE
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